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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION


DR. CHRISTOPHER FROST                           )
  Plaintiff                                     )
                                                )   Case No. 3:19-cv-00227-CRS
v.                                              )
                                                )   RESPONSE IN OPPOSITION TO
UNIVERSITY OF LOUISVILLE, et al                 )   MOTION TO STAY [DN 31]
  Defendants                                    )
                                                )

                                      INTRODUCTION

       This Court issued its May 29, 2019 Order For Preliminary Injunction based upon joint

stipulations of fact and well-settled, binding precedent. The University of Louisville has not

demonstrated that this Court erred as a matter of law. As a result, its Motion To Stay (DN 31)

not only should be but also must be denied.

       The Preliminary Injunction ordered the full reinstatement of Dr. Frost “to his

probationary, tenure-track appointment as an Assistant Professor of Biology in the College of

Arts and Sciences,” DN 27 at 1, as “necessary to preserve to the status quo.” DN 26 at 23.

Although couched as a Rule 62 motion for a stay, in truth, the motion seeks reconsideration and

reversal. The University has merely repeated the same arguments it made in opposition to Dr.

Frost’s Motion for injunctive relief based upon the same stipulated facts. Thus, the University

has not demonstrated the “likelihood of reversal” necessary to issuance of a stay. Mich. Coal of

Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d 150, 153 (6th Cir. 1991). While the

University cites Griepentrog for the standard governing Rule 62 motions, it omits any reference

to this high burden of proof. DN 31-1 at 2-3.
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       Similarly, the University has omitted any reference to the limited scope of this Court’s

jurisdiction in ruling on Rule 62 motions. Federal courts have interpreted Rule 62 narrowly,

rejecting motions that are (1) filed under the aegis of Rule 62 but which are in truth Rule 59(e)

motions, (2) filed after an appeal and seek relief that would alter the status quo of the parties and

(3) filed after an appeal and seek relief that would destroy the integrity of appeal. The

University’s Motion runs afoul of each of these restrictions of this Court’s power under Rule 62.

For this reason alone, its Motion must be denied.

                                            ARGUMENT

A. This Court cannot grant the relief the University seeks.

           “The filing of a notice of appeal is an event of jurisdictional significance – it confers

jurisdiction on the court of appeals and divests the district court of its control over those aspects

of the case involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58

(1982). That is, once an appeal is filed, jurisdiction over all matters from which an appeal is

taken is transferred to the court of appeals. Zundel v. Holder, 687 F.3d 271 (6th Cir. 2012)

(effective notice of appeal divests district court of jurisdiction over matter forming basis for

appeal). Thus, a district court may not take any action that would “alter the status of the case as

its rests before the Court of Appeals.” Dayton Indep. School Dist. v. U.S. Mineral Prods.

Co., 906 F.2d 1059, 1063 (5th Cir.1990); accord U.S. v. Gallion, 534 Fed. App’x 303 (6th Cir.

2013); see also Fort Gratiot Sanitary Landfill, Inc. v. Mich. Dept. of Natural Res., 71 F.3d 1197

(6th Cir. 1995) (appeal divests district court of jurisdiction to act in case except on remedial

matters unrelated to merits of appeal); NLRB v. Cincinnatit Bronze, 829 F.2d 585, 588 (6th Cir.

1987) (appeal divests district court of jurisdiction over the matter forming the basis for the

appeal).




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           Accordingly, while FED. R CIV. P. 62 vests some residual jurisdiction with this Court

with respect to the Preliminary Injunction it issued, the Court’s power to modify that injunction

is limited. Federal courts have applied two standards to Rule 62(d) motions, creating a circuit

split. Basicomputer Corp. v. Scott, 973 F.2d 507, 513 (6th Cir. 1992). One view is that this

Court’s power “to modify a preliminary injunction . . . is limited to modifications that preserve

the status quo” of the parties as it is before the Court of Appeals. Id. (citing Coastal Corp. v.

Texas E. Corp., 869 F.2d 817, 820 (5th Cir. 1989) (authority provided by Rule 62 is limited to

preservation of status quo). In Coastal, the district court awarded a preliminary injunction but

while the decision was on appeal, the district court dissolved the injunction based on newly

discovered evidence. The court of appeals reversed the dissolution, holding that the “powers of

the district court over an injunction pending appeal should be limited to maintaining the status

quo and ought not to extend to the point that the district court can divest the court of appeals

from jurisdiction while the issue is before us on appeal.” 869 F.2d at 820.

           The other interpretation of Rule 62 comes from Ortho Phar. Corp. v. Amgen, Inc., 887

F.2d 460, 464 (3rd Cir. 1989) which held generally that a Rule 62 order cannot undermine the

integrity of an appeal. More specifically, the Third Circuit held that a district court’s power to

modify an injunction is not “open ended.” Id. (citing Griggs, 459 U.S. at 58)). Rather, a district

court is limited to actions that are designed to “preserve the integrity of the proceedings in the

court of appeals.” Id. Of equal importance, the Third Circuit held that “absent some change in

circumstances, a movant ought not to be able to file a motion under the aegis of Fed. R. Civ. P.

62(c) and [re-litigate] 1 the ‘original issue’ simply because the case involves preliminary

injunctive relief.” Id. at 463. Stated another way, Rule 62 does not confer authority on a district



1
    The opinion as published in Westlaw’s database reads “religate,” a typographical error.
2
    The University’s Memorandum of Law, DN 31-1 at 8.

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court by which “to simply reconsider[ ] its earlier order as in a motion under Fed. R. Civ. P.

59(e)”. Id. at 464.

       The Sixth Circuit has not expressly adopted either standard. Basicomputer, 973 F.2d at

513. Even so, under either standard, a district court may not materially alter the status of a case

that is on appeal. Gallion, 534 Fed. App’x 303; Fort Gratiot, 71 F.3d 1197; N.L.R.B., 829 F.2d

585. The Fifth Circuit’s standard comports with this limitation by holding that any order entered

pursuant to Rule 62 must maintain the status quo. The Third Circuit’s standard likewise

precludes reconsideration, or re-litigation, of a district court’s original order and restricts the

scope of Rule 62 orders by requiring that they preserve the integrity of the appeal. Accordingly,

under either standard, a district court may not act so as affect the merits of an appeal by

reconsidering and reversing its decision. District courts within the Sixth Circuit have reached

this conclusion: “[e]ither way Rule 62(c) is not an invitation to reconsider the merits of the

injunction, and any action taken pursuant to the rule may not ‘materially alter the status of the

case on appeal.’” Furwa v. Operating Eng’rs Local 324 Health Care Plan, 2009 WL 367179 at

*5 (E.D. Mich. Jan. 30, 2019) (citations omitted); see also Graveline v. Johnson, 2018 WL

4184577 at *2 (E.D. Mich. Aug. 30, 2018); Geo. S. Hofmeister Family Trust v. Trans Indus. of

IN., Inc., 2007 WL 128932 at *2 (E.D. Mich. Jan. 12, 2007).

       The University’s Motion seeks exactly what this Court cannot do: a reversal on the merits

of its original decision to issue the Preliminary Injunction. The University’s Motion contains the

same arguments it made in opposition to Dr. Frost’s Motion for injunctive relief. In response to

Dr. Frost’s Motion for injunctive relief (DN 21), Defendants (including the University) argued:

(1) “Plaintiff did not have a protectable property interest in his appointment with the University”;

(2) “Plaintiff was not deprived of any due process that was due to him under the Fourteenth




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Amendment”; (3) “Plaintiff will not suffer irreparable harm”; (4) “the issuance of an injunction

will cause harm to University students and faculty who have an interest in the University’s

enforcement of its employment policies”: and (5) the issuance of an injunction “is contrary to the

public interest in prohibiting the misconduct that was the basis of Plaintiff’s termination.” Resp.,

DN 22 at 1-2.

       In support of its Motion To Stay (DN 31), the University argues that this Court erred

when it found “(1) that Frost had a protectable property interest in his probationary tenure-track

appointment; and (2) that Frost did not receive due process under the Fourteenth Amendment.”

DN 31-1 at 7-8. The University also argues that “the public interest strongly favors granting a

stay,” id. at 15, and that “the University and its students, faculty and staff, have been and will

continue to be, irreparably harmed.” Id. at 3. It also again argues that any harm Frost would

incur should this Court revoke the Preliminary Injunction is “minimal.” Id. But the University

has not shown a likelihood of reversal with respect to any of these grounds because it has not

demonstrated how this Court erred as a matter of law. Nor has it shown that this Court made any

erroneous factual findings. Indeed, it cannot because this Court’s Memorandum Opinion and

Order for Preliminary Injunction were based upon jointly stipulated facts. For these reasons, the

University’s Motion is unavailing. Griepentrog, 945 F.2d at 153.

       At the same time, the University has also appealed this Court’s decision and seeks

reversal, presenting the same reasons to the Court of Appeals that it has presented to this Court

as grounds for a stay:

                The Court erred in finding that Frost was likely to succeed on the merits of
                his claim because Frost (a) did not have a protectable property interest in
                his probationary tenure-track appointment and (b) received all process due
                to him under the Fourteenth Amendment. Further, the Court erred
                because Frost was not likely to suffer irreparable harm in the absence of




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                  an injunction and the public interest does not support the issuance of
                  injunctive relief.

06/21/2019 Civil Appeal Statement, Exh. 1. As result, the same issues are simultaneously before

this Court, albeit for a second time, and before the United States Court of Appeals for the Sixth

Circuit. Consequently, the University’s Motion for a stay improperly asks this Court to entertain

the merits of the pending appeal and to decide the issues. This Court cannot do that because it

does not have the necessary jurisdiction and because, as the motion truly seeks reconsideration

and reversal, it asks for relief that is not within the scope of this Court’s power under Rule 62.

Gallion, 534 Fed. App’x 303; Fort Gratiot, 71 F.3d 1197; N.L.R.B., 829 F.2d 585; Coastal

Corp., 869 F.2d at 820; Ortho Phar. Corp., 887 F.2d at 464; Furwa, 2009 WL 367179 at *5;

Graveline, 2018 WL 4184577 at *2; Geo. S. Hofmeister Family Trust, 2007 WL 128932 at *2.

B. The University has not demonstrated a likelihood of reversal.

          As for the University’s repeated arguments on the merits, they have not become winning

arguments simply by virtue of the passage of a few weeks. Moreover, they are based on

misstatements of the law and misrepresentations of fact. These flaws also support denying the

University’s Motion.

      1. Ramsey v. Board of Education is not “binding Sixth Circuit law.”2

          Just as it did in its Response brief (DN 22 at 12), the University relies on Ramsey v. Bd.

of Educ., 844 F.2d 1268 (6th Cir. 1998) to argue that Dr. Frost cannot bring suit under §1983

because he has no cause of action other than an ordinary breach of contract case. DN 31-1 at 8-

9. The University asserts that Ramsey is “binding Sixth Circuit law.” Id. at 8. This is not true.

In Prichard v. Lafferty, the Sixth Circuit reversed a district court that had relied on Ramsey for

the same proposition that the University relies on here. As well, the Sixth Circuit explained that


2
    The University’s Memorandum of Law, DN 31-1 at 8.


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the language from Ramsey on which the district court relied in Prichard and on which the

University relies on here is dicta which, of course, is not binding law:3

      The district court failed to recognize that Prichard has a property interest created by
      his contract and by statute. The district court relied on Ramsey v. Board of Educ.,
      844 F.2d 1268 (6th Cir.1988), in finding that Prichard’s claim merely involved a
      contractual dispute that must be resolved in state court. Ramsey involved a teacher
      who brought a section 1983 suit after the Board of Education cut her accumulated
      sick days from 142 to 29. Id. at 1269. The Ramsey court in dicta noted that a state
      breach of contract action was the appropriate remedy for a person who is hired for a
      fixed period of time or under an at-will contract and then dismissed prematurely. Id.
      at 1273. It stated:
                 When a person is hired for a fixed period of time or pursuant to a
                 contract providing for employment “at will” or impliedly subject to
                 removal upon the bona fide elimination of the position, and that
                 person is dismissed prematurely, no federal cause of action lies
                 under section 1983 to redress what is best characterized as an
                 ordinary breach of contract.
      Id. That dictum in Ramsey, however, was directed not toward the right but toward
      the remedy, and acknowledged that a nontenured employee had a property interest
      in employment for the duration of the employment contract. Id. And, in any case,
      Prichard had a property right created by Kentucky statute as well as by a contract
      for a definite period of time, and therefore this case presents a different situation
      from that described in dicta in Ramsey.

Prichard, 974 F.2d 1338, n.3 (6th Cir. 1992). Prichard makes clear that Ramsey is not binding

law which this Court failed to follow. Indeed, Prichard shows that this Court did not err at all.

        Glenn Prichard filed a §1983 suit after the Marion County Board of Education fired him

for misconduct. He claimed violations of his substantive and procedural due process rights. Id.

at 1338. Reversing the district court, the Sixth Circuit explained:

        Prichard had a property interest in his employment that was created by his four-
        year contract. The Board deprived Prichard of this interest by first suspending him
        (although with pay) and then removing him before the end of his four years. In
        addition, Prichard had a property interest created by Ky.Rev.Stat. § 160.350,
        which permitted a Board to remove a superintendent only “for cause.” This statute
        created an entitlement not to be removed but for cause. Cleveland Bd. of Educ. v.

3
 Slusser v. U.S., 895 F.3d 437, 440 (6th Cir. 2018) (“We generally treat dicta as non-binding.”) (citing Parents
Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 737-38 (2007)); Williams v. Anderson, 460 F.3d
789, 796 (6th Cir. 2006) (“dicta does not bind this Court.”)


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         Loudermill, 470 U.S. 532, 538–39, 105 S.Ct. 1487, 1491 (1985) (Ohio statute
         prohibiting dismissal except for misfeasance etc. created property right). Thus,
         before Prichard could be deprived of those property rights, he was entitled to due
         process of law.

Id. The same is true here. Dr. Frost has a protectable property interest in his contract of

employment. He also has a property interest created by statute, KRS 164.830, which provides

that he may only be terminated for cause: “no president, professor, or teacher shall be removed

except for incompetence, neglect, or refusal to perform one’s duty or for immoral conduct.”

KRS 164.830 (1)(b). Thus, like Prichard, Dr. Frost had a property right created both by contract

and by Kentucky statute, which also means that Dr. Frost’s case “presents a different situation

from that described in dicta in Ramsey.” Prichard, 974 F.2d at n.3. Neither of these facts has

changed. Indeed, the University has renewed Dr. Frost’s contract for the 2019-2020 academic

year. See Renewal Letter, Exh. 2.4 Also, the University has again ignored KRS 164.830(b)(1).

         The University’s remaining property-interest argument is illogical. It argues that Dr.

Frost “had a vested contractual right” but “not a constitutionally protected interest.” DN 31-1 at

8.   This is a non sequitur.           A contract creates a constitutionally protected property right.

Singfield v. Akron Metro. Hous. Auth., 389 F.3d 555, 565 (6th Cir. 2004) (property interest can

be created by statute, formal contract or implied contract). Moreover, that property right is

protected by due process: “college professors and staff members dismissed during the terms of

their contracts have interests in continued employment that are safeguarded by due process.” Bd.

of Regents of State Colleges v. Roth, 408 U.S. 564, 576-77 (1972). A professor need not be

tenured to have a constitutionally protected property interest. Id. For this reason, this Court did

not err when it held that Dr. Frost had a constitutionally protected property interest.


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  The letter, however, gets the term wrong. In accordance with his appointment, Frost’s work year runs from July 1,
to June 30. Regrettably, the University has not returned Dr. Frost to the status quo. Instead, its has retaliated against
Dr. Frost in various ways.


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       Further and contrary to the University’s argument, Redbook §4.5.2 does not permit the

opposite conclusion. While §4.5.2 may operate to circumscribe the duration, or extent, of a

University tenure-track professor’s property interest in his or her contract of appointment, it does

not alter the fundamental nature of the property interest itself or its constitutional protection.

This conclusion is plain from the language of §4.5.2. First, §4.5.2 requires the University to

provide notice of non-renewal “in advance of the expiration of the appointment,” and, at the

same, it establishes “minimum periods of notice.” In this way, §4.5.2 not only implicitly

recognizes that a tenure-track professor has contractual rights, it also guarantees additional

continued, contractual employment for a term of either ninety days, six months, or one year

following a notice of non-renewal. In this way, §4.5.2 itself creates and confers a property

interest that is constitutionally protected. Singfield., 389 F.3d at 565 (property interest can be

created by “a contract implied from the circumstances.”). Indeed, §4.5.2 creates one of the most

significant property interests that an individual can have: a professor’s means of livelihood.

Sutton v. Cleveland Bd. of Educ., 958 F.2d 1339, 1348 (6th Cir. 1992) (“The Supreme Court has

held repeatedly that the property interest in a person’s means of livelihood is one of the most

significant that an individual can possess.”).

       Moreover, the University is wrong to assert that §4.5.2 permits it to fire a professor,

including Dr. Frost, “for no reason whatsoever.” DN 31-1 at 8. To the contrary, §4.5.2 expressly

states that the University must provide the reasons for any non-renewal decision in writing upon

request: “If the faculty member so requests, the professional, academic, budgetary, management,

planning or other factors given in explanation of the nonrenewal will be confirmed in writing.”

REDBOOK, §4.5.2 (emphasis added) (Exh. 3). That is, §4.5.2 contemplates that the University




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must have reasons for not renewing a tenure-track professor’s appointment and cannot simply

issue notice of non-renewal “for no reason whatsoever.”

       The falsity of this contention is also demonstrated by the University’s recent conduct.

Despite this Court’s order that it must fully reinstate Dr. Frost to the status quo, the University

conditioned his return to his lab on first meeting with Assistant Dean Deborah Keeling. The

University was able to enforce this condition because the locks had been changed. When asked

for the purpose of the meeting, the University, by counsel, said it was to “touch base.” To the

contrary, Dr. Keeling’s sole purpose was to present Dr. Frost with a notice of non-renewal

authored by defendant Dean Kempf-Leonard. See Exh. 4. Pursuant to §4.5.3 of the REDBOOK,

Dr. Frost asked for the Dean’s reasons. On June 21, 2019, the Dean authored a second letter

setting for her reasons, albeit untrue and pre-textual reasons, and sent it to Dr. Frost by certified

mail. Dr. Frost is grieving that retaliatory decision. See Exh. 5. This conduct begs the question.

If neither the Dean nor the University were required to have any reason or reasons for non-

renewal, why bother to invent them?

       Next, the University contends defendant Dean Kempf-Leonard’s January 28, 2019

termination letter constituted a notice of non-renewal after the 2019-2020 academic year. DN

31-1 at 10. The letter’s first sentence alone disproves any such assertion: “This letter serves as

the notice of my written recommendation to terminate your appointment as Assistant Professor

of Biology in the Department of Biology, College of Arts & Sciences effective June 30, 2019.”

DN 21-18 at 1. The dean simultaneously divested Dr. Frost of all of his job duties, deemed him

persona non gratis, and banned him from campus. None of this conduct is consistent with the

procedure set out in § 4.5.2 of the REDBOOK. Accordingly, this Court was correct when it found

that “[t]he University unmistakably terminated Frost before the end of his 2018-2019




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appointment term pursuant to Section 4.5.3 of the Redbook.” DN 26 at 13. Simply put,

termination of an appointment is not synonymous with non-renewal. The REDBOOK alone

proves this point as it devotes separate sections to each circumstance and imposes entirely

different requisites and procedures. Cf. REDBOOK §4.5.2 with §4.5.3.

       Finally, the University’s continued reliance on Bailey v. Floyd Cnty. Bd. of Educ., 106

F.3d 135 (6th Cir. 1997) remains unavailing. Jane Bailey waived the argument that her

appointment letter created a one-year contract that gave rise to a protectable property interest.

106 F.3d at 143. With no other source of a protectable interest, the court held that she had “no

contractual right to continued employment” and thus no property interest. Id. at 144. The

opposite is true here. Dr. Frost’s appointment letter, signed by him, created a contract that gave

him a property interest in the right to be considered for tenure no later than year 2020-21. Even

under the University’s arguments, his appointment had been renewed for academic year 2018-

2019. DN 22 at 7. It is indisputable that the Dean fired Dr. Frost during the term of his contract.

       2. The University’s attempt to distinguish Doe v. Baum has no merit.

       The University argues that Doe v. Baum, 903 F.2d 575 (6th Cir. 2018) does not apply

here because defendant Dean Kempf-Leonard’s termination decision did not depend upon the

finding of sexual harassment but upon “unwanted physical conduct” to which Dr. Frost

supposedly admitted. Nowhere has Dr. Frost admitted to “unwanted physical conduct” or to

“unwelcome physical conduct.” He certainly has not “confess[ed] to physical misconduct with a

student.” DN 31-1 at 12. Beyond that, the conclusion that holding Doe’s hair back and touching

her back was “unwanted” or “unwelcome” depends upon believing Doe. That is, it is a

credibility determination. So even if one adopts the University’s distorted characterization of the

dean’s January 28, 2019 letter, its argument fails.




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           As for the actual contents of the January 28, 2019 letter, it accused Dr. Frost of having

engaged in “immoral conduct” and “[e]ngaging in unwelcome, inappropriate physical conduct

toward a student, which resulted in the student’s departure from your class and/or lab.” DN 21-

18 at 2. Plainly, the dean took direct action based upon the sexual harassment finding. The

University’s effort to recast the letter’s language simply rings hollow. It is belied by the record.

Indeed, just as Dr. Frost has never admitted to unwelcome or unwanted physical conduct, he has

never admitted to serving alcohol to an underage student whom he knew or should have known

was underage. Yet, the Dean rested her termination decision on that accusation too: “Providing

alcohol to and/or consuming alcohol with an underage student enrolled in one of your classes

and/or working in your lab” and “engaging in consumption of alcoholic beverages with students,

including those you knew and/or should have known were under the legal drinking age.” DN 21-

18 at 2.

           Extraordinarily, the University also argues that the facts that underlay the Case Summary

Report are somehow undisputed because Dr. Frost did not provide contradictory evidence. DN

31-1 at 13. In this remarkable manner, it continues to whistle past the graveyard. The Due

Process Clause requires notice of the substance of the allegations and an explanation of the

employer’s evidence at the outset so that the accused has a meaningful opportunity to rebut that

evidence. Loudermill, 470 U.S. at 542; Morrison v. Warren, 375 F.3d 468, 473-75 (6th Cir.

2004). The University did not provide meaningful notice and certainly did not inform Dr. Frost

of the evidence it had gathered against him in advance of his interview. Defendant Schroeder’s

November 7, 2018 email did not do so and no other notice was given to Dr. Frost in advance of

his interview so as to permit him to “identify additional witnesses,” produce affidavits, and

provide documentation “that contradicted the conduct that was the basis of the Case Summary




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Report and Dean Kempf-Leonard’s letter.” DN 31-1. Because the University failed to provide

him with adequate notice and he did not know what had been alleged or what evidence had been

gathered, Dr. Frost had no means of knowing what he needed to rebut much less a means by

which to identify rebuttal witnesses and documents. This is exactly how the University violated

Dr. Frost’s right to due process with respect to notice.

        3. The University’s notice argument is contrary to law.

        The University argues that it provided sufficient notice to Dr. Frost in advance of his

interview. DN 31-1 at 13. Tellingly, they do not cite to the November 7, 2018 notice given to

him by Schroeder; rather, they rely on language from defendant Dean Kempf-Leonard’s

termination notice. Id. Schroeder’s notice said only that Dr. Frost “hosted a potluck in the

summer in which students were invited”; “alcohol was served” and “inappropriate touching

occurred.” Jt. Stip. of Fact, DN 19 at ¶ 13. Contrary to the University’s brief, the notice did not

state that students “did in fact consume alcohol.” DN 31-1 at 13. It did not state that Dr. “Frost

provided Doe alcohol.” Id. Nor did the notice state that “Frost engaged in unwelcome physical

conduct with Doe.” Id.       In no way did defendant Schroeder notify Dr. Frost of “these three

exact factual allegations.” Id. at 14 (emphasis in original). Indeed, this assertion is disproven

by the University’s quotation of the notice in their very next sentence. Id. It is also true that

Does’ allegations were much more specific and, thus, consisted of substantive claims that were

never provided to Dr. Frost in advance, which is evident from the Case Summary Report’s

recitation of her allegations.

        The University’s reliance on Devlin v. Kalm, 531 Fed. App’x 697 (6th Cir. 2002) does

not help them. Contrary to what the University did here, the defendants in Devlin provided Mr.




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Devlin with the specific allegations and a list of the policies he allegedly violated before the

investigatory conference and before they terminated his employment:

       The notice told him he would be asked “questions related to your involvement
       and conduct in the access and release of confidential information, failure to follow
       the chain of command, insubordinate behavior, [and] disrespectful conduct.” The
       letter also listed the various department policies he had been accused of violating
       and invited him to bring counsel to the conference.

Id. at 708. Nor does Bramley v. Knudson, 917 F.2d 1304 (Table), 1990 WL 169661 (6th Cir.

1990) help the University. He too was put on notice of specific allegations before being

terminated:

       Bramley's tenure with the City of Willoughby was stormy. He was accused of
       citing an auto body repair shop for nonexistent violations of the electrical code in
       order to “get even” with the owner. He was also accused of being rude to the
       public. For example, he told the owner of a business in Willoughby that “[i]t
       would be a cold day in hell before you open Monday.” Bramley's supervisor,
       Gene Barnes, believed that Bramley had lied to him when Bramley denied saying
       this to the business owner. Bramley denies these accusations. He was also accused
       of using profanity around the office, and of speeding in a city-owned inspection
       vehicle.

       Based on these occurrences, and Bramley's general unwillingness to extend his
       expertise beyond electrical inspection, Barnes met with Bramley approximately
       one month before his termination. Barnes stated that he advised Bramley of the
       accusations. Barnes also stated that he advised Bramley that he believed both the
       accusations and that Bramley's performance was unsatisfactory. Barnes stated that
       he reminded Bramley that he was still on probationary status and informed him
       that he would have to improve his performance.

Id. at *1. Plainly, the defendant in Bramley had provided the plaintiff with detailed notice and it

contradicts the University’s assertion that such detail was not required.

       Indeed, the Sixth Circuit found that “[i]n light of Barnes’s detailed statements to Bramley

regarding the specific deficiencies in her performance, Bramley cannot credibly claim to have

been surprised by the reasons behind his termination.” Id. at *4. That is, Bramley had received

oral notice “of the charges against him” and an “explanation of the employer’s evidence,” which




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is what Loudermill requires. 470 U.S. at 546. The same is not true for Dr. Frost. The University

never provided him with the substance of Doe’s allegations or the nature of any other evidence

gathered against him. The record in this case does not allow for a different conclusion.

       Next, the University argues that by not participating in post-deprivation procedures, Dr.

Frost has waived any procedural due process claim. “But the failure to use post-termination

procedures does not waive a due process claim where the pre-termination procedures are

inadequate.” Stevens v. Speck, 2016 WL 5745108 at *5 (E.D. Ky. Sept. 30, 2016) (citing Farhat

v. Jopke, 370 F.3d 580, 595 (6th Cir. 2004)). For this reason, Farhat, on which the University

relies for its waiver argument does not help them.

       Indeed, Farhat acknowledges that “prior to termination of a public employee who has a

property interest in his employment, the due process clause requires that the employee be given

‘oral or written notice of the charges against him or her, an explanation of the employer’s

evidence, and an opportunity to present his or her side of the story to the employer.” 370 F.3d at

595. The failure to provide sufficient pre-termination process in and of itself violated Dr. Frost’s

constitutional right to due process and thus in and of itself inflicted irreparable harm. In short,

the “‘root requirement’ of the Due Process Clause” is “that an individual be given an opportunity

for a hearing before he is deprived of any significant property interest.” Loudermill, 470 U.S. at

542 (emphasis in original).      Here, defendant Dean Kempf-Leonard terminated Dr. Frost,

depriving him of his protectable property interest with his having been given sufficient notice

and a meaningful opportunity to be heard. His right to due process was violated and he was

irreparably harmed as a result. Id.; Overstreet v. Lexington-Fayette Urban Cnty. Gvt., 305 F.3d

566 (6th Cir. 2002) (violation of a constitutional right standing alone is irreparable harm).




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       Moreover, when a deprivation of property occurs pursuant to an established procedure,

then “it is both practicable and feasible for the state to provide pre-deprivation process, and [it]

must do so regardless of the adequacy of any post-deprivation remedy.” Walsh v. Cuyahoga

Cnty., 424 F.3d 510, 513 (6th Cir. 2005) (emphasis added); accord Moore v. Bd. of Educ. of

Johnson City Sch., 134 F.3d 781 (6th Cir. 1998); Roth, 408 U.S. at 569-70 (when protected

interest is implicated right to prior hearing is paramount”) (emphasis added).

       4. The harm to Dr. Frost was not “minimal.”

       The University argues that Dr. Frost was not deprived of due process because any harm

to him was “minimal.” DN 31-1 at 15. It asserts that this Court found the harm to Dr. Frost was

“minimal.” Id. The contrary is true. This Court made no such finding, and Overstreet, 305 F.3d

566, makes plain that a violation of a constitutional right is irreparable harm. Id. The University

ignores Overstreet, and Estep v. City of Somerset, Ky., 2011 WL 845847 (E.D. Ky. Mar. 8, 2011)

on which it relies is of no help. First, Estep does not stand for the proposition that deprivation of

required due process is “minimal harm.” Second, it was in the context of reprimands that the

district court in Estep addressed whether the process provided was adequate. Third, it is clear

from Estep, that the employee was given adequate notice of the specific charges against him and

a meaningful opportunity to rebut them. Fourth, the deprivation here was of Dr. Frost’s

livelihood and is not analogous to reprimands. The University terminated his employment. That

is a serious harm and is no way “minimal.” “The Supreme Court has held repeatedly that the

property interest in a person’s means of livelihood is one of the most significant that an

individual can possess.” Sutton, 958 F.2d at 1348.




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        5. The University’s public interest argument is without merit.

        The University’s public interest argument is self-defeating. It states: “[t]he public has an

interest in preventing sexual harassment and in allowing the University to make personnel

decisions, so long as those personnel decisions do not violate the law.” DN 31-1 at 15 (citation

omitted). Here, the University’s “personnel decision” violated the most important of laws,

constitutional law.

        6. The University’s irreparable harm argument is contrary to fact.

        At the same time that the University argues that it took no action based on the sexual

harassment finding, it argues that it will be irreparably harmed by this Court’s interference with

its ability to protect its students’ safety. DN 31-1 at 3. Even if this self-contradiction is set aside,

accusations are not proof, of course, and there has been no reliable finding that Dr. Frost is guilty

of sexual harassment.      Even the University’s arguments disavow the finding.            Indeed, the

University cannot do otherwise. The sexual harassment finding is inherently unreliable because

it is based on an unfair process that omitted the means of discovering the truth: cross

examination. Even so, the investigators were unable to confirm that any sexual misconduct took

place. Apparently determined to find guilt, they reached a conclusion that simply ignored the

University’s own definition of what constitutes sexual harassment.

        The University’s argument is flawed for a second reason: it is unsupported by any

evidence. It contends that “students have already communicated to the University that they are

not comfortable working with Frost.” But there is no affidavit or other proof of this contention.

At the same time, the University states that it has made alternate arrangements so that these

students will have no contact with Dr. Frost. Again, if this is true, then there is no harm in fact.

Further, the University’s supposed concern for student safety is belied by the fact that it has




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asked Dr. Frost to teach two large-enrollment classes, Biology 102 in the Fall and Biology 242 in

the Spring. Biology 242 is a required course for Biology majors. Class Schedule, Exh. 6.5

           Nor is there any evidence or proof for the contention that this Court’s decision will have a

chilling effect. DN 31-1 at 4. This argument is nothing but speculation. Moreover, the Court’s

decision should promote confidence in students and faculty alike that the University will be

required to conduct fair investigations, ones that provided both the accuser and the accused with

due process.

           The University contends that this Court’s Preliminary Injunction leaves students

wondering if their complaints will lead to lawsuits. Id. The opposite is true. This Court’s

decision provides instruction as to how a lawsuit may be avoided by explaining what due process

requires and thereby providing guidance and clarity.

           Next, the University presupposes that students “may never make complaints of sexual

harassment” because they may be subject to cross examination. Again, this is pure speculation.

Moreover, this proposition turns core constitutional law on its ear by suggesting that it would be

proper to do away with fundamental fairness and the best means of uncovering the truth. Baum,

903 F.2d at 581 (cross examination “is the greatest legal engine ever invented for uncovering the

truth”). It is equally untrue that this Court’s ruling puts professors “into a position where they

can intimidate and threaten students further.” To the extent the University is suggesting that Dr.

Frost has engaged in any such conduct, there is no proof of it and his excellent student

evaluations contradict any such assertion.               See e.g. DN 21-12.         Also, this Court’s equally

forewarns faculty members that they too will be subject to rigorous cross-examination, and in

now way absolves them of their obligation to behave lawfully.



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    The Schedules can be found at https://htmlaccess.louisville.edu/classSchedule/searchClassSchedule.cfm.


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       Nor does this Court’s Preliminary Injunction prevent the University from investigating

sexual harassment complaints. This contention must be rejected outright. This Court’s order

required only that its investigation comply with due process.           The University’s remaining

irreparable harm arguments comprise little more than an admission that it will not be returning

Dr. Frost to the status quo as if that were somehow impossible in a University setting. DN 31-1

at 5-6. Registration is open. Dr. Frost can be assigned to the courses he has routinely taught (not

Biology 102 and 242) and otherwise resume his lab work. Any NSF funds improperly spent or

other funds of which he has been deprived can be refunded to him. There is nothing preferential

about returning the parties to business as usual.

                                         CONCLUSION

       This Court entered its Order For Preliminary Injunction based on jointly stipulated facts

and settled federal law. The University has not demonstrated that this Court made any error of

law and certainly not any error of fact. Thus, it has failed to demonstrate the “likelihood of

reversal” necessary to its requested relief. Griepentrog, 945 F.2d at 153. Additionally, the

University’s Motion improperly seeks reconsideration and reversal, relief that this Court may not

grant in light of the University’s appeal which seeks the same relief. See supra at 2-6. For these

reasons, Dr. Frost respectfully seeks the entry of an order denying the University’s Motion to

Stay this Court’s Preliminary Injunction.

                                                         Respectfully submitted,

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